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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                            ORLANDO DIVISION

UNITED STATES OF AMERICA

v.                                                   Case No. 6:20-cr-163-RBD-GJK

FREEDIE LEE WILLIS


                                      ORDER

      Defendant Freedie Lee Willis moved to suppress statements and evidence

from an August 19, 2020 traffic stop. (Doc. 36 (“Motion”).) The Government

responded and the Court held a hearing. (Docs. 39–40.) At the hearing, the Court

denied the Motion. (See Doc. 40.) This Order memorializes the Court’s oral

pronouncements.

                                I.    BACKGROUND

      Best to begin at the beginning. And here the story starts about a month

before Willis’ traffic stop.

      Sometime in July or August 2020, the Brevard County Sherriff’s Office

(“BCSO”) received a citizen complaint about suspected drug activity: reportedly

a black jeep was coming and going from a residence in the City of Rockledge at all

hours of the day, staying only for a short period each time. (See Doc. 42-3, p. 2; see



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also Doc. 40.1) BCSO Agents Taylor Barrett and Benjamin Brown, among others,

were assigned to investigate. (See Doc. 42-3, p. 2; see also Doc. 40.2) At first they

surveilled the residence, but their focus soon shifted to the black jeep. (See Doc. 42-

3, p. 2; see also Doc. 40.3)

       On August 10, 2020, Agents Barrett and Brown followed the black jeep from

the residence to a convenience store in Cocoa, Florida known for drug transactions

in the parking lot. (Doc. 40.4) A silver jeep parked in the same lot. (Id.;5 Doc. 42-3,

p. 2.) The driver of the black jeep got out of his vehicle, walked over to the silver

jeep’s driver-side door, and conducted a hand-to-hand transaction with the silver

jeep’s driver. (Doc. 42-3, p. 3; see also Doc. 40.6) Based on his training and

experience, and what he knew about the jeep and location, Agent Barrett

concluded he had witnessed a drug transaction. (Doc. 40.7)

       Nine days later, events seemed to repeat. The black jeep left the residence to




       1  As of the signing of this Order, an official transcript of the hearing is not available, but
the Court summarizes the relevant testimony. Where helpful, the Court notes the identity of the
witness that testified on the matter. The Court found all witness testimony recounted in this
section to be credible, unless otherwise noted.
        2 Agent Barrett’s testimony.
        3 Agent Barrett’s testimony.
        4 Agent Barrett’s testimony.
        5 Agent Barrett’s testimony.
        6 Agent Barrett’s testimony.
        7 Agent Barrett’s testimony.

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drive to a gas station. (Doc. 40.8) The same silver jeep from August 10th appeared,

parking near the black jeep. (Doc. 42-3, p. 2; see also Doc. 40.9) Later, BCSO agents

would determine the silver jeep was driven by Willis. (Doc. 42-3, pp. 2–3; see also

Doc. 40.10) At around 12:07 p.m., Willis got out of his silver jeep and walked to its

passenger door, opened it, and there met with the driver of the black jeep. (Doc.

42-3, p. 2; see also Doc. 40.11) The meeting lasted no more than ten seconds. (Doc.

42-3, p. 2; see also Doc. 40.12) Agent Barrett witnessed the encounter and believed it

was a drug transaction. (Doc. 40.13) Agent Brown, who was also at the gas station,

saw part of the transaction as well. (Doc. 42-3, p. 2; see also Doc. 40.14)

       The black jeep then left the area and the BCSO decided to follow the silver

jeep that had twice now appeared in their investigation. (Doc. 40.15) Agents

watched as Willis briefly entered the gas station before exiting to speak with

another driver in the parking lot. (Doc. 42-3, p. 2.) As this was happening, one




       8  Agents Barrett’s and Brown’s testimony.
       9  Agents Barrett’s and Brown’s testimony.
        10 Agents Barrett’s and Brown’s testimony.
        11 Agent Barrett’s testimony.
        12 Agent Barrett’s testimony.
        13 Agent Barrett’s testimony.
        14 Agent Brown’s testimony. From his testimony at the hearing, it is unclear how much of

the transaction he witnessed versus how much was relayed to him by Agent Barrett. But all the
agents who testified indicated there was constant communication among the group of agents at
the gas station that day.
        15 Agent Barrett’s testimony.

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agent got the license plate number for the silver jeep—a run of the number

revealed the car was registered to Willis. (Doc. 42-3, p. 2; see also Doc. 40.16) Agent

Craig Adelman, on scene, told his colleagues he was familiar with Willis—Willis,

nicknamed “the Black Russian,” was a long-time suspected drug trafficker that

had been under investigation by the BCSO for years. (Doc. 42-3, pp. 2–3; see also

Doc. 40.17)

      Willis left the gas station and the agents followed. (Doc. 42-3, p. 3; see also

Doc. 40.18) Soon after, Agent Brown saw Willis cross over a solid white line while

changing lanes through an intersection. (Doc. 42-3, p. 3; see also Doc. 40.19) When

Willis changed lanes, the car driving behind him had to slow down. (Doc. 42-3,

p. 3; see also Doc. 40.20) So Agent Brown pulled Willis over at 12:17 p.m. for what

he believed was an improper lane change. (Doc. 42-1, p. 2; see also Doc. 40.21) Agent

Barrett, who had been following close behind, and Agent Mitchell Mattias, assisted

with the stop. (Doc. 42-4, pp. 2–3; see also Doc. 40.22)

      After stopping, Agent Brown approached Willis, collected his driver’s



      16 Agent Barrett’s testimony.
      17 Agents Barrett’s, Brown’s, and Adelman’s testimony.
      18 Agent Barrett’s testimony.
      19 Agent Brown’s testimony.
      20 Agent Brown’s testimony.
      21 Agents Brown’s, Barrett’s, and Matthias’ testimony.
      22 Agents Barrett’s and Mathias’ testimony.

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license, and began running a license and warrants check and writing up a written

warning for a lane change violation. (Doc. 42-3, p. 3; see also Doc. 40.23) As Agent

Brown collected Willis’ documents, Agent Matthias walked to the jeep’s passenger

side door and, after verifying Willis was the sole occupant, at 12:20 p.m. radioed

for a K9 unit to come to the scene. (Doc. 42-1, p. 2; Doc. 42-4, p. 3; see also Doc. 40.24)

      As he was writing the warning, Agent Brown noted the time as “12:31” and

used a “cheat sheet” of Florida traffic statutes, describing the offense as: “Improper

lane change (solid line) 316.0765.” (Doc. 41-7; see also Doc. 40.25) Meanwhile, Agent

Mathias spoke to Willis, who had remained in his vehicle. (Doc. 42-4, p. 3; see also

Doc. 40.26) From his vantage point near the passenger side door, Agent Matthias

noticed a large quantity of cash sitting in the cupholder and a window tint

violation on Willis’ car: the sunscreen layer at the top of the windshield extended

below the AS1 line sticker. (Doc. 42-3, p. 3; see also Doc. 40;27 Doc. 41-5.)

      As Agent Brown was finishing the written warning, Deputy Adam

Steuerwald arrived on the scene with his canine narcotics detection partner,




      23 Agent Brown’s testimony.
      24 Agent Matthias’ testimony.
      25 Agent Brown’s testimony.
      26 Agent Mathias’ testimony.
      27 Agent Mathias’ testimony.

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Waylon, at 12:37 p.m. (Doc. 42-1, p. 2; Doc. 42-3, p. 3; see also Doc. 40.28) Deputy

Steuerwald’s police dash cam shows Agent Brown writing what looks to be a

citation on the roof of his car as he pulls up, corroborating Deputy Steuerwald’s

and Agent Brown’s testimony.29 (See Doc. 41-1; cf. Doc. 40;30 Doc. 42-3, p. 3.)

       Waylon conducted a free air sniff of Willis’ car and alerted. (Doc. 42-2; see

also Doc. 40.31) Agents then searched the car and found a large quantity of drugs

and cash. (Doc. 42-3, pp. 3–4; see also Doc. 40.32) Willis was later indicted for

possession with intent to distribute fentanyl and cocaine. (Doc. 17.)

       Willis now moves to suppress the evidence from the traffic stop for Fourth

Amendment violations.33 (Doc. 36.) With the Government’s response and a

hearing, the matter is ripe. (Docs. 39–40.)

                                     II.    ANALYSIS

       “As a general rule, the evidence gathered as a result of an unconstitutional

stop must be suppressed.” United States v. Chanthasouxat, 342 F.3d 1271, 1280 (11th

Cir. 2003) (citing Wong Sun v. United States, 371 U.S. 471, 484–85 (1963)). And on a


       28 Agent Brown’s and Deputy Steuerwald’s testimony.
       29 The unmarked patrol cars driven by the undercover agents are not equipped with dash
cams. (See Doc. 40 (Agent Barrett’s testimony).)
       30 Deputy Steuerwald’s and Agent Brown’s testimony.
       31 Deputy Steuerwald’s testimony.
       32 Agents Brown’s and Matthias’ and Deputy Steuerwald’s testimony.
       33 The Motion was drafted without the benefit of Deputy Steuerwald’s dash cam video,

but counsel had the opportunity to review the footage before the hearing.
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motion to suppress evidence from a warrantless search and seizure, the

Government bears the burden to show the search was reasonable. United States v.

Freire, 710 F.2d 1515, 1519 (11th Cir. 1983). The Government met its burden to show

this stop was constitutional. While the traffic violation pretextual stop was not

without problems, the agents had reasonable, articulable, particularized suspicion

to conduct a short stop—so there was no constitutional violation.

      A traffic stop is constitutional “if it is either based upon probable cause to

believe a traffic violation has occurred or justified by reasonable suspicion in

accordance with Terry.” United States v. Harris, 526 F.3d 1334, 1337 (11th Cir. 2008)

(referring to Terry v. Ohio, 392 U.S. 1 (1968)). For the first option (the traffic

violation), Agent Brown claims he pulled Willis over for improperly changing

lanes, crossing over a solid line, and changing lanes within 100 feet of an

intersection. (See Doc. 41-7; Doc. 42-3, p. 3; see also Doc. 40.34) But what Florida

traffic statute did this violate?

      At the close of the hearing, the Government conceded the statute referenced

in the written warning could not serve as the basis for the stop: Florida Statute

§ 316.0765 essentially forbids running a red light, which Agent Brown did not




      34   Agent Brown’s testimony.
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observe. (See Doc. 41-7; see also Doc. 40.35) Instead, the Government claimed Agent

Brown witnessed Willis violate § 316.089, which governs lane changes. See Fla.

Stat. § 316.089; (Doc. 4036). But contrary to Agent Barrett’s and the Government’s

assertions, this statute, too, does not forbid changing lanes within 100 feet of an

intersection or crossing a single solid white line. 37 See Fla. Stat. § 316.089; (cf. Doc.

4038). And while § 316.089 forbids drivers from changing lanes “until the driver

has first ascertained that such movement can be made with safety,” nothing about

Agent Brown’s testimony or supplemental report indicates he observed unsafe

behavior—he simply noted a following car had to slow down a bit after Willis

changed lanes. (Doc. 42-3, p. 3; Doc. 40.39) So the Government has not met its


       35  Representations by Government counsel and the testimony of Agent Brown.
       36  Argument of Government counsel.
        37 In testimony, Agent Barrett asserted it is illegal to cross over a solid white line or to

change lanes within 100 feet of an intersection—although he could not recall the particular Florida
statute. The Florida Department of Transportation has adopted the Federal Highway
Administration’s Manual on Uniform Traffic Control Devices (“MUTCD”) to “provide a uniform
system of traffic signs and signals.” Fla. Dept. of Transp., Pavement Marking,
https://www.fdot.gov/traffic/TrafficServices/Pavement-Marking.shtm (last accessed Mar. 3,
2021). The MUTCD says “where crossing the lane line markings is discouraged, the lane line
markings shall consist of a normal or wide solid white line.” MUTCD, p. 362, ¶ 20 (emphasis
added) (accessible at https://mutcd.fhwa.dot.gov/pdfs/2009r1r2/pdf_index.htm). On the other
hand, “Where crossing the lane line markings is prohibited, the lane line markings shall consist of
a solid double white line.” MUTCD, p. 370, ¶ 30 (emphasis added). So despite what common sense
(and driver’s education teachers) may tell you, the Government has not shown that crossing a
single solid white line is prohibited or a violation of Florida Statute § 316.089. And while Agent
Barrett is correct that drivers may not cross the centerline of a road within 100 feet of an
intersection, Florida statute § 316.089 makes no reference to this—nor does § 316.087, which
references centerlines only and does not cover lane changes.
        38 Agent Brown’s testimony.
        39 Agent Brown’s testimony.

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burden to show Agent Brown had probable cause to believe a traffic violation

occurred.40, 41

       The analysis does not end there, however, because there is another way

officers can stop suspects: if they have “reasonable suspicion” of criminal activity

for a Terry stop. Harris, 526 F.3d at 1337; see also Terry, 392 U.S. 1. And Agent Brown

did.

       Police may conduct a “brief investigatory stop” if “they have a reasonable,

articulable suspicion based on objective facts that an individual is engaged in

criminal activity.” Harris, 526 F.3d at 1337 (internal quotation marks omitted). This


       40   As to the window tint violation: the Government did not directly address this when
arguing there was probable cause for a traffic violation stop, but the Court also notes it is unclear
whether Agent Brown was aware of the window tint violation before stopping Willis. The
window tint violation is not referenced in the written warning or his supplemental report. (See
Docs. 41-7, 42-3.) And while Agent Brown testified he was “made aware” of the window tint
violation at some point, he didn’t recall how or when he learned of it—only that another agent
told him. (Doc. 40 (Agent Brown’s testimony).) Agent Matthias personally observed the window
tint while speaking to Willis, but he had not noticed it while driving, noting he needed to be close
to observe it. (Doc. 40 (Agent Matthias’ testimony).) This makes sense because recognizing the
violation requires comparing the depth of the sunscreen bar at the top of the windshield to a small
marking, the AS1 bar, along the windshield. (See Doc. 41-5; Doc. 40 (Agent Matthias’ testimony).)
Agent Weimer also claims to have seen the window tint violation, but it is unclear if this was
communicated to Agent Brown before the stop. (See Doc. 40 (Agents Weimer and Brown’s
testimony).) So the Government has not shown Agent Brown knew of the window tint violation
prior to stopping Willis and so had probable cause prior to the stop. See Paez v. Mulvey, 915 F.3d
1276, 1287 (11th Cir. 2019).
         41 Finally, the Court acknowledges that an officer’s “reasonable mistake of law” does not

negate probable cause for a traffic stop. See Heien v. North Carolina, 574 U.S. 54, 60–61 (2014); see
also United States v. Scott, 693 F. App’x 835, 836–87 (11th Cir. 2017). But the Government did not
argue, much less show, Agent Brown’s interpretation of § 316.089 was reasonable albeit
mistaken—and the statute clearly refers to “safety” as the barrier to changing lanes, not speed
changes of nearby cars. See Fla. Stat. § 316.089. So there was no probable cause to stop Willis for
a traffic violation, even considering reasonable mistake.
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 determination is based on a totality of the circumstances and reasonable suspicion

 may be formed “by observing exclusively legal activity.” Id. at 1337–38. But

 reasonable suspicion “requires some minimal level of objective justification for

 making the stop”; the officer “must be able to articulate something more than an

 inchoate and unparticularized suspicion or hunch.” United States v. Sokolow, 490

 U.S. 1, 7 (1989) (cleaned up).

       Agent Brown, along with other BCSO agents, had been surveilling the black

 jeep for weeks in response to a citizen’s complaint about suspicious activity. (Doc.

 42-3, p. 2; see also Doc. 40.42) Just nine days prior to the stop of Willis, agents had

 witnessed a hand-to-hand transaction between the driver of the black jeep and the

 silver jeep Willis was driving, at a location known for drug dealing. (Doc. 42-3, p.

 2; see also Doc. 40.43) And just minutes before Willis was pulled over, agents

 observed Willis pull into a parking lot and meet for less than ten seconds with the

 driver of the black jeep at Willis’ open passenger door, in what looked like a drug

 transaction, and Agent Adelson recognized the name Freedie Willis as associated

 with the drug trade, having been investigated by the BCSO for years. (Doc. 42-3,

 p. 2; see also Doc. 40.44) All of this was communicated amongst the agents as it



       42 Agents Brown’s and Barrett’s testimony.
       43 Agents Brown’s and Barrett’s testimony.
       44 Agents Brown’s, Barrett’s, and Adelson’s testimony.

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 happened. (Doc. 42-3, p. 2; see also Doc. 40.45) Given the totality of the

 circumstances, Agent Brown had reasonable, articulable, particularized suspicion

 of criminal activity when he stopped Willis on August 19, 2020. See United States v.

 Diaz-Lizaraza, 981 F.2d 1216, 1220–21 (11th Cir. 1993); United States v. Smith, No.

 1:16-CR-006-11-ELR-AJB, 2016 WL 7856415, *5–7 (N.D. Ga. Dec. 28, 2016), adopted

 by 2017 WL 218413 (N.D. Ga. Jan 18, 2017).

       And the duration and scope of the stop was also reasonable. “In assessing

 whether a detention is too long in duration to be justified as an investigative stop,”

 courts examine “whether the police diligently pursued a means of investigation

 that was likely to confirm or dispel their suspicions quickly, during which time it

 was necessary to detain the defendant.” United States v. Sharpe, 470 U.S. 675, 686

 (1985). There are four non-exclusive factors courts consider: (1) the law

 enforcement purposes served by the detention; (2) the diligence with which the

 police pursue the investigation; (3) the scope and intrusiveness of the detention;

 and (4) and duration of the detention. United States v. Acosta, 363 F.3d 1141, 1146

 (11th Cir. 2004). “There is no rigid time limitation or bright line rule regarding the

 permissible duration of a Terry stop”—instead, courts should use their common

 sense. Id. at 1146–47; see also United States v. Place, 462 U.S. 696, 709-10 (1983).



       45   Testimony of Agents Brown, Barrett, and Adelson.
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         The evidence shows the agents diligently pursued their investigation after

 stopping Willis. Agent Matthias called for a K-9 unit less than four minutes after

 Willis was stopped, after ascertaining Willis was the only occupant of the silver

 jeep and seeing the cash in the cupholder. (Doc. 42-1, p. 2; see also Doc. 40;46 Doc.

 42-3, pp. 2–3.) Deputy Steuerwald arrived at the scene just 17 minutes later, at 12:37

 p.m.—so all told Willis’ Terry stop lasted for only around 20 minutes, during

 which time he was detained in his car. (See Docs. 42-1, 40;47 Doc. 41-1; Doc. 42-3, p.

 3.) Given the circumstances, briefly detaining Willis to wait for Waylon’s arrival

 was reasonable—there was no Fourth Amendment violation. See Smith, 2016 WL

 7856415, at *6–7. So Willis’ Motion is denied.

                                      III.      CONCLUSION

         It is ORDERED AND ADJUDGED that Defendant Freedie Lee Willis’

 Motion to Suppress Statements and Evidence (Doc. 36) is DENIED.

         DONE AND ORDERED in Chambers in Orlando, Florida, on March 4,

 2021.




         46   Testimony of Agent Matthias.
         47   Testimony of Deputy Steuerwald.
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